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                                       UNITED DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

---------------------------------------------------------------x
                                                               :
BRIAN SULLIVAN, individually and on Behalf :
Behalf of a class of all persons similarly situated            :   Civil Action No.
and on behalf of the GE RETIREMENT SAVINGS :
PLAN,                                                          :   CLASS ACTION COMPLAINT
                                                               :
                           Plaintiff,                          :
                                                               :   JURY TRIAL DEMANDED
         -against-                                             :
                                                               :
GENERAL ELECTRIC COMPANY, GE ASSET :
MANAGEMENT INCORPORATED, DMITRI                                :
STOCKTAN, CHERYL BEUCOCK, ANAND                                :
HARI, RALPH RICHARD LAYMAN, DAN                                :
TOREY, DANIEL O. COLAO and JOHN DOES :
1-25,                                                          :
                                                               :
                           Defendants.                         :
                                                               :
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                                              INTRODUCTION

       1.        Plaintiff Brian Sullivan (collectively “Plaintiff”), is a participant in the GE

Retirement Savings 401(k) Savings Plan (the “Plan”) during the Class Period (defined below), on

behalf of the Plan, himself, and a class of all other similarly situated Plan participants (the

“Participants”), by his undersigned attorneys, alleges the following based upon personal

information as to himself and upon the investigation of counsel as to other matters. The

investigation of counsel has included a review of U.S. Securities and Exchange Commission

(“SEC”) filings by General Electric Company “GE” or the “Company”), including the

Company’s proxy statements (Form DEF 14A), annual reports (Form 10-K), quarterly reports

(Form 10-Q), current reports (Form 8-K), registration statements (Form S-8), Forms 5500 filed

by the Plan with the U.S. Department of Labor, annual reports filed on behalf of the Plan (Form
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11-K) and other available documents governing the management, administration and operations

of the Plan. Plaintiff believes that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery. Plaintiff may after

discovery and/or disclosure proceedings in this case, seek leave to amend his Complaint to add

new parties or claims or to identify the “John Doe Defendants.”

                                  NATURE OF THE ACTION

      2.       This is a class action brought pursuant to §§ 409 and 502(a)(2) of the Employee

Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1109 and 1132(a)(2), against the

fiduciaries of the Plan for breaches of the ERISA-imposed fiduciary duties.

      3.       The Plan is a defined contribution retirement plan sponsored by GE. The primary

purpose of the Plan is to allow Participants to save for retirement.

      4.       This case arises out of Defendants’ violation of ERISA’s fiduciary laws and

ERISA’s prohibited transactions regulations by offering and failing to follow five investment

fund options offered by the Plan, collectively (“GEAM Funds”):

               GE Institutional International Equity Fund (“GE Int’l Equity”)

               GE Institutional Strategic Investment Fund (“GE Strategic”)

               GE RSP US Equity Fund (“RSP Equity”)

               GE RSP US Income Fund (“RSP Income”)

               GE Institutional Small Cap Equity Fund (“GE Small Cap”).

The foregoing GEAM Funds were among the 15 investment options (other than “Target Date

Funds”) offered in the Plan during the Class Period. All of the GEAM Funds are managed by

Defendant GEAM. The GEAM Funds are the only non-index funds offered to Plan Participants.

Accordingly, if a Participant wants to invest in actively managed funds, he/she is forced by GE




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and the Trustees to invest in GEAM Funds which were (until June 30, 2017) proprietary to

GEAM. The Plan also offers “passive” index funds. An “index fund” is a type of mutual fund

which matches the components of a market index and provides, generally, broad market

exposure, low operating expenses and low portfolio turnover. By contrast, the GEAM Funds

were all actively managed funds which, by definition, means there were investment advisers

and/or portfolio managers to be paid by Plan Participants from their Plan savings. The mere act

of limiting actively managed equity funds to GEAM Funds indicates that Defendants put GEAM

interests before the interests of the Plan or Plan Participants. Such conduct is inimical to

ERISA’s duty of loyalty.

       5.      The ERISA fiduciary obligations of retirement plan fiduciaries to the participants

and beneficiaries of a plan are “the highest known to the law.” Donovan v. Bierwirth, 680 F.2d

263, 272 n.8 (2d Cir. 1982); accord Branden v. Wal-Mart Stores, Inc., 588 F.3d 585, 598, 602

(8th Cir. 2009).

       6.      When seeking investments for a retirement plan, plan fiduciaries are required to:

perform with undivided loyalty; act prudently; and defray reasonable plan expenses. ERISA §

404(a)(1), 29 U.S.C. §d 1104(a)(1).

       7.      ERISA also prohibits certain transactions and arrangements that have a high

potential for abuse. Thus, ERISA prohibits a fiduciary from causing a plan to transact with a

“party-in-interest,” such as the plan sponsor, and prohibits plan fiduciaries from causing plan

transactions for the benefit of themselves of others. ERISA § 406(a)-(b), 29 U.S.C. § 1106(a) –

(b).

       8.      Defendants, who are or were, during the Class Period, statutory fiduciaries of the

Plan under ERISA and were designated under the Plans’ governing documents to carry out




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fiduciary functions, have violated their fiduciary duties and engaged or aided and abetted the

fiduciary breaches and/or other statutory breaches by other Defendants.

      9.       Plaintiff’s First and Second Claim for Relief alleges that Defendants during the

Class Period were responsible for selecting, monitoring, and removing the investments in the

Plans and failed to prudently mange the Plan and were guilty of disloyal conduct towards the

Plan. Each of the individual Defendants was an officer or employee of General Electric Asset

Manager, Inc. (“GEAM”) GE’s wholly owned financial advisory/money manager subsidiary.

Instead of acting for the exclusive benefit of the Plan and its participants and beneficiaries with

respect to managing the Plan’s assets, these Defendants acted for the benefit of GEAM because

GE was seeking to increase GEAM’s sale value. To enhance GEAM’s value, Defendants

offered plan participants a menu of investment options that preponderated with GEAM

underperforming propriety funds that the fiduciaries would not replace or eliminate. GE has

profited handsomely from these arrangements, earning tens of millions of dollars in fees during

the Class Period and enhancing GEAM’s sale value. Thus the investment decisions of

Defendants breached their fiduciary duties under ERISA.

      10.      Plaintiff’s Third Claim for Relief alleges that the Defendant caused the

investment decisions made by Plan and “parties-in-interest” to engage in prohibited transaction

during the Class Period. Each time the Plans invested Participant assets or allowed parties-in-

interest to be paid fees and costs from Plan assets to GEAM in connection with the Plans’

investment in a GE-affiliated investment option, these Defendants caused the Plans to engage in

a prohibited transaction under ERISA. Each time the Plans paid fees to a GE-affiliated

investment manager, the Plan engaged in transactions prohibited by ERISA § 406(b), which

prohibits Defendants from causing the Plans to engage in a transaction benefiting a party-in-




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interest person, here GE and GEAM and its Trustees and its affiliates, whose interests are

adverse to the interests of the Plans and their participants and beneficiaries, and prohibits GE and

GEAM from dealing with Plan assets in its own interest or for its own account.

      11.      Plaintiff’s Fourth Claim for Relief alleges that Defendants GE and GEAM failed

to monitors the Trustees and other fiduciaries of the Plan to ensure that all fiduciaries were acting

in accordance with ERISA fiduciary duties of prudence and loyalty and avoiding engaging in

prohibited transactions.

      12.      Plaintiff’s Fifth Claim for Relief alleges a co-fiduciary liability under ERISA

405(a) against all Defendants who had knowledge of other fiduciaries’ breach of duties and/or

role in prohibited transaction.

      13.      This is a civil enforcement action under ERISA, and in particular under ERISA §§

404, 406, 409 and 502(a)(2), 29 U.S.C. §§ 1104, 1106, 1109 and 1132(a)(2).

      14.      Plaintiff brings this action on behalf of the Plans for losses to the Plans and for

disgorgement of unlawful fees, expenses, and profits taken by Defendants, and to obtain such

further equitable or remedial relief as may be appropriate to redress and to enforce the provisions

of Title 1 of ERISA.

      15.      This class action is brought on behalf of participants in the Plans who participated

from November 1, 2011 through the present except for prohibited transaction based claims which

end on July 1, 2017 (the “Class Period”).

                                  JURISDICTION AND VENUE

      16.      Subject Matter Jurisdiction. This Court has subject matter jurisdiction over this

action pursuant to 28 U.S.C. § 1331 because it is a civil action arising under the laws of the




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United States, and pursuant to ERISA § 502(E)(1), 29 U.S.C. § 1132(e)(1), which provides for

federal jurisdiction of civil actions brought under Title 1 of ERISA.

      17.      Personal Jurisdiction. This court has personal jurisdiction over Defendants

because they reside and/or transact business in and have significant contacts with this District,

and because ERISA provides for nationwide service of process, ERISA § 502(e)(2), 29 U.S.C. §

1132(e)(2), and the Plans are and were administered in this District and the breaches of ERISA

took place herein. This Court also has personal jurisdiction over Defendants pursuant to Fed. R.

Civ. P. 4(k)(1)(A) because they would be subject to the jurisdiction of a court of general

jurisdiction in New York.

                                            PARTIES

Plaintiff

      18.      Plaintiff Brian Sullivan is a resident of the State of New York. Plaintiff is a

participant in the Plan within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), and had a

portion of their plan assets invested in GEAM Funds during the Class Period.

Defendants

      19.      Defendant General Electric Company (“GE” or the “Company”) is the sponsor of

the Plan and its Administrator.

      20.      GE is liable herein by virtue of its own actions and failures to act as Plan fiduciary

as both Sponsor of the Plan and as Administrator of the Plan. GE is also liable under the

doctrine of respondeat superior in that the executive officers of its former wholly owned

subsidiary, GEAM, were and are the Trustees of the Plan and acted on behalf of GE with regard

to Plan management and administration. The Trustees were at all times employees and agents of




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GEAM and GE and GE is also liable for their actions and failures to act under the doctrine of

respondeat superior. GE is also liable for the actions and failures to act of GEAM.

      21.      Defendant GEAM was a wholly owned subsidiary of GE and served as

“investment advisor” to GEAM Funds offered to plan participants. Throughout the Class Period,

GEAM and the Trustees (defined hereinafter) exercised discretionary authority with respect to

management and administration of the Plan and/or management and disposition of the Plan's

assets and was a fiduciary of the Plan. GEAM served as investment manager of the plans within

the meaning of ERISA 3(38), 29 U.S.C. 1002 (38) to the GEAM Funds and is a fiduciary with

respect to the assets allocated thereto.

      22.      GEAM is also liable in respondeat superior for the actions of the Trustees, all of

whom were GEAM employees until GEAM’s sale in 2016.

      23.      Defendants Dmitri Stocktan, Cheryl Beucock, Anand Hari, Ralph Richard

Layman, Dan Torey and Daniel O. Colao (the “Trustees”) were all executive officer of GEAM

and Trustees of the Plan during the Class Period.

      24.      As explained in further detail below, during the Class Period, the Trustees had

certain responsibilities with respect to the Plan, including the power to remove investment

options from the Plan and the Trustees were therefore fiduciaries of the Plan.

      25.      As alleged above, the Trustees of the Plan "represented" GEAM, the investment

advisor, and GE, the Plan Sponsor, and so were responsible for management and administration

of the Plan, including especially the responsibility and power to include or exclude investment

options.

      26.      All Defendants were fiduciaries of the Plan during the Class Period within the

meaning of ERISA 3(21)(A)(i) and (iii), 29 U.S.C. § 1002 (21)(A)(i) and (iii) and “parties-in-




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interest” to the Plans within the meaning of ERISA § 3(14)(A) and (C), 29 U.S.C. 1002

(14)(A)(C).

      27.       “John Doe” Defendants 1 – 10 (collectively “John Doe Defendants”), include the

other persons who may have had fiduciary status, duties and responsibilities with respect to the

Plan. The identities of the John Doe Defendants are currently unknown to Plaintiff. Once their

identities are ascertained, Plaintiff will seek leave to join them to the instant action under their

true names.

                                             THE PLAN

      28.       The Plan is sponsored by Defendant GE. The Plan is a defined contribution plan

established under the provisions of Section 401(a) of the Internal Revenue Code and is an

“employee pension benefit plan,” as defined by § 3(a)(A) of ERISA, 20 U.S.C. § 1002(2)(a).

The Plan is a legal entity that can sue and be sued. ERISA § 502(D)(1), 29 U.S.C. § 1132(d)(1).

However, in a breach of fiduciary duty action such as this, the Plan is neither a defendant nor a

plaintiff. Rather, pursuant to ERISA § 409, 29 U.S.C. § 1109, and the law interpreting it, the

relief requested in this action is for the benefit of the Plan and its Participants.

      29.       The assets of an employee benefit plan, such as the Plan, must be “held in trust by

one or more trustees.” ERISA § 403(a), 29 U.S.C. § 1103(a).

      30.       Throughout the Class Period Participants were allowed to direct the investment of

contributions among a variety of investment options selected by the Plan’s fiduciaries.

      31.       Eligible employees of the Company and participating affiliates may participate in

the plan by investing up to 30% of their eligible earnings in one or more of 15 investment

options or “Target Date Funds.”




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      32.       There was no requirement, in the Plan or otherwise, that any fiduciary of the Plan

was offer GEAM managed investments as an investment option for the Participants.

      33.       The Plan generally provides for employer matching contributions of 50% of

employees' contributions of up to 7% of their earnings, that is, a 3.5% maximum matching

contribution. For certain eligible employees, whose first day of work was on or after January 1,

2005, such matching contributions are generally 50% of employees' contributions of up to 8% of

earnings, that is, a 4% maximum matching contribution.

      34.       Certain eligible salaried employees (whose first day of work is on or after January

1, 2011) and certain eligible production employees (whose first day of work is on or after

January 1, 2012) also receive a Company Retirement Contribution generally equal to 3% of their

earnings, irrespective of any employee contributions. Those production employees may also be

eligible for an Additional Company Retirement Contribution ("ACRC") equal to $600 per year

credited in the following January and a one-time additional $300 for a total of $900 credited in

January 2016. Hereinafter, the Company Retirement Contribution and the ACRC shall be

referred to collectively as "Company Retirement Contributions" ("CRCs"). The CRCs are in

addition to the employer matching contribution. A participant who does not have a regular

investment election on file will be electing to invest the CRCs in the TRD Fund consistent with

the participant's age.

      35.       Newly hired non-union employees who are eligible for CRCs and who have not

made an affirmative election regarding the amount (if any) of their own savings are

automatically enrolled as electing to contribute 8% of eligible pay as pre-tax contributions. This

election entitles these employees to the maximum 4% matching contribution. A participant who

does not have a regular investment election on file will be electing to invest these contributions




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in the TRD Fund consistent with the participant's age. These elections can be changed at any

time before or after the employee is automatically enrolled.

      36.      Effective January 1, 2016, the Plan was amended to automatically enroll current

and newly hired union employees who are eligible for CRCs and who have not made an

affirmative election regarding the amount (if any) of their own savings as electing to contribute

2% of eligible pay as pre-tax contributions. This election entitles these employees to a 1%

matching contribution. A participant who does not have a regular investment election on file will

be electing to invest these contributions in the TRD Fund consistent with the participant's age.

These elections can be changed at any time before or after the employee is automatically

enrolled.

      37.      Administrative costs of the Plan and investment advisory costs for the GE Stock

Fund, ST Interest fund, the Money Market Fund and the Synchrony Stock Fund are generally

borne by the Company. For the registered investment companies including the GEAM Funds,

the Index Funds, and the TRD Funds, investment advisers receive a management fee for

providing investment advisory services. These management fees are reflected in interest and

dividend income for the registered investment companies and in net appreciation in fair value of

investments for the Index Funds and TRD Funds on the statements of changes in net assets

available for plan benefits and are thus not readily apparent to Plan Participants.

                            DEFENDANTS' FIDUCIARY STATUS

The Nature Of Fiduciary Status

      38.      ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

§ 402(a)(1), 29 U.S.C. § 1102(a)(1), such as the Benefits Plan Committee, but also any other

persons who in fact perform fiduciary functions ("de facto fiduciary"). A person is a fiduciary to




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the extent "(i) he exercises any discretionary authority or discretionary control respecting

management of such plan or exercises any authority or control respecting management or

disposition of its assets . . . or (iii) he has any discretionary authority or discretionary

responsibility in the administration of such plan." ERISA § 3(21)(A)(i), 29 U.S.C. §

1002(21)(A)(i). During the Class Period, Defendants performed fiduciary functions under this

standard and thereby also acted as fiduciaries under ERISA.

      39.       Each of the Defendants was a fiduciary with respect to the Plan and owed

fiduciary duties to the Plan and the participants and beneficiaries under ERISA in the manner

and to the extent set forth in the Plan's documents, through their conduct, and under ERISA.

      40.       As fiduciaries, Defendants were required by ERISA § 404(a)(1), 29 U.S.C. §

1104(a)(1), to manage and administer the Plan and the Plan's investments solely in the interest of

the Plan's participants and beneficiaries and with the care, skill, prudence, and diligence under

the circumstances then prevailing that a prudent man acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of a like character and with like aims.

      41.       GE as the Plan Administrator, is responsible for selecting, monitoring and

removing the investment options in the Plan. GE designated GEAM and Trustees to execute

those responsibilities. Instead of delegating fiduciary responsibility for the Plan to external

service providers, GE chose to delegate investment responsibility to GEAM.

      42.       GE and GEAM, by and through their respective Boards, appointed the Trustees of

the Plan.

      43.       The Trustees duties of loyalty to GEAM as executive officer of GEAM,

conflicted with their fiduciary duties to the Plan and affected the Trustees’ best judgment as to

what actions were in the best interests of the Plan.




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      44.      By failing to install independent trustees and fiduciaries, the Defendants breached

their fiduciary duties which required them to avoid conflicts of interest or, where conflicts arose,

to mitigate and eliminate such conflicts.

      45.      During the Class Period, GE and GEAM, exercised control over the activities of

GEAM employees who were Trustees and performed fiduciary functions with respect to the

Plan. GE and GEAM, could hire, appoint, terminate, and replace such employees at will. Thus,

GE and GEAM were responsible for the activities of their employees and subsidiaries through

traditional principles of agency and respondeat superior liability.

      46.      Under basic tenets of corporate law, GEAM and GE is imputed with the

knowledge that the Trustees had regarding the misconduct alleged herein, and, hence, like the

fiduciaries who acted on GE's behalf, had knowledge of the imprudent actions alleged herein.

      47.      In light of the foregoing duties, responsibilities, and actions, GE and GEAM, were

fiduciaries of the Plan within the meaning of ERISA § 3(21), 29 U.S.C. § 1002(21), during the

Class Period in that they exercised discretionary authority or discretionary control respecting

management of the Plan, exercised authority or control respecting management or disposition of

the Plan's assets, and/or had discretionary authority or discretionary responsibility in the

administration of the Plan.

      48.      Trustees were fiduciaries of the Plan within the meaning of ERISA § 3(21), 29

U.S.C. § 1002(21), in that they exercised discretionary authority or discretionary control

respecting management of the Plan, exercised authority or control respecting management or

disposition of the Plan's assets, and/or had discretionary authority or discretionary responsibility

in the administration of the Plan.




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      49.      Under ERISA, fiduciaries who exercise discretionary authority or control over the

selection of plan investments and the selection of plan service providers must act prudently and

solely in the interest of participants and beneficiaries of the plan when performing such

functions. As the Department of Labor explains,

               [T]o act prudently, a plan fiduciary must consider, among other
               factors, the availability, riskiness, and potential return of
               alternative investments for his or her plan. [Where an investment],
               if implemented, causes the Plan to forego other investment
               opportunities, such investments would not be prudent if they
               provided a plan with less return, in comparison to risk, than
               comparable investments available to plan, or if they involved a
               greater risk to the security of plan assets than other investments
               offering a similar return.

DOL Opinion 88-16A (1988).

      50. In a separate publication, the Department of Labor writes:

               The Federal law governing private-sector retirement plans, the
               Employee Retirement Income security Act (ERISA), requires that
               those responsible for managing retirement plans – referred to as
               fiduciaries – carry out their responsibilities prudently and solely in
               the interest of the plan’s participants and beneficiaries. Among
               other duties, fiduciaries have a responsibility to ensure that the
               services provided to their plan are necessary and that the cost of
               those services is reasonable.

               ***

               Plan fees and expenses are important consideration for all types of
               retirement plans. As a plan fiduciary, you have an obligation
               under ERISA to prudently select and monitor plan investments,
               investment options made available to the plan’s participants and
               beneficiaries, and the persons providing services to you plan.
               Understanding and evaluating plan fees and expenses associated
               with plan investments, investment options, and services are an
               important part of a fiduciary’s responsibility. This responsibility is
               ongoing. After careful evaluation during the initial selection, you
               will want to monitor plan fees and expenses to determine whether
               they continue to be reasonable in light of the services provided.




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               ***

               By far the largest component of plan fees and expenses is
               associated with managing plan investments. Fees for investment
               management and other related services generally are assessed as a
               percentage of assets invested. Employers should pay attention to
               these fees. They are paid in the form of an indirect charge against
               the participant’s account or the plan because they are deducted
               directly from investment returns. Net total return is the return after
               these fees have been deducted. For this reason, these fees, which
               are specifically identified on statements of investments, may not be
               immediately apparent to employers.

Understanding Retirement Plan Fees and Expenses, U.S. Dep’t of Labor Employee Benefits

Security Admin. (Dec. 2011), http://www.dol.gov.ebsa/publications/undrstndgrtrmnt.html.

      51.      GE and GEAM failed to properly appoint, monitor and inform the Trustee

Defendants and/or others who exercised day-to-day responsibility for the management and

administration of the Plan and its assets.

Duties And Obligations Under ERISA Of Fiduciaries And Parties-In-Interest

      52.      The Plan’s trustees and investment advisors described herein, as well as GEAM

and the Company and Plan participants, are each a “party in interest” to the Plan as defined by

ERISA. GEAM is the investment adviser to six of the Plan’s investment options, which included

actively managed funds in equity and fixed income asset classes. BlackRock Institutional Trust

Company, N.A. (“BlackRock”) is the investment advisor to six of the Plan’s investment options,

which include passively managed funds in equity and fixed income classes (collectively referred

to herein as the “Index Funds”). AllianceBernstein, L.P. (“AllianceBernstein”) is the investment

adviser to the Plan’s suite of thirteen Target Retirement Date Funds. Effective July 15, 2014,

State Street Global Advisors, a division of State Street Bank and Trust Company (“SSgA”)

became the investment manager for the GE RSP Government Money Market Fund, replacing

GEAM.



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                                      THE GEAM FUNDS

      53.      As of December 31, 2015, 68% of the Plan’s assets comprised GE-related

investment options and approximately 56% of the pooled investment fund options available in

the Plan consisted of five of GE’s Proprietary mutual funds.

      54.      The Plan was vital to GE’s mutual fund business and the healthy growth of its

bottom line. According to public documents, as of December 31, 2015, the Plan owned the vast

majority of assets in the following proprietary mutual funds:

                      Fund Name                       Percentage Owned by the Plan
      GE Institutional                                          90%
      International Equity Fund
      GE Institutional Small Cap                                 84%
      Equity Fund
      GE Institutional Strategic                                 75%
      Investment Fund
      GE RSP U.S. Income Fund                                    75%
      GE RSP U.S. Equity Fund                                    70%

      55.      GE’s selection of its proprietary mutual funds for the Plan provided GEAM a

constant source of fees and helped inflate the market value of GEAM, which GE sold to State

Street for a reported $485 million on July 1, 2016. At the time of the sale, GEAM managed

approximately $8 billion of the Plan’s assets.

      56.      GE RESP Income Fund (the “Income Fund”) – The Income Fund managed by

GEAM seeks a high interest rate of return over a long-term period consistent with the

preservation of capital by investing at least 80% of its net assets in debt securities. GEAM’s

RSP Income Fund was the only instant option offered to Plan Participants who wanted to invest

in bonds with duration of one year or more.

      57.      GE RSP U.S. Equity Fund (the “U.S. Equity Fund”) – The U.S. Equity Fund

managed by GEAM seeks long-term growth of capital and income by investing at least 80% of



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its net assets in equity securities of U.S. companies, such as common and preferred stocks.

GEAM’s RSP Equity Fund was the only investment option offered to Plan Participants who

wanted to invest in a fund with a U.S. large cap equity strategy.

      58.      GE Institutional International Equity Fund (the “International Fund”) – The

International Fund managed by GEAM seeks long-term growth of capital by investing at least

80% of its net assets in equity securities, such as common and preferred stocks. The

International Fund invests primarily in companies in both developed and emerging market

countries outside the United States. GEAM’s International Equity Fund was the only investment

option offered to Plan Participants who wanted to invest in a fund with an intentional large cap

equity strategy.

      59.      GE Institutional Small-Cap Equity Fund (the “Small-Cap Fund”) – The Small-

Cap Fund managed by GEAM seeks long-term growth of capital by investing at least 80% of its

net assets in equity securities of smaller companies, such as common and preferred stocks.

      60.      GE Institutional Strategic Investment Fund (the “Strategic Investment Fund”) –

The Strategic Investment Fund managed by GEAM seeks maximum total return (total return

includes both income and capital appreciation) by investing primarily in a combination of U.S.

and Non-U.S. equity and debt securities and cash. GEAM’s Strategic Fund was the only

investment option offered to Plan participants who wanted “Moderate Risk” and wanted to invest

in a combination of U.S. and foregoing equity and debt.

      61.      The Income Fund, U.S. Equity Fund, International Fund, Small-Cap Fund and

Strategic Investment Fund are registered investment companies subject to specific disclosure and

other requirements.




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               GEAM FUNDS DRAMATICALLY UNDERPERFORMED
             THE RELEVANT BENCHMARKS FOR THE CLASS PERIOD

     62.      The GEAM Strategic Fund underperformed all of its closet peer funds for every

year from 2011-2016 and also underperformed its peer index from 2008-2010.

     63.      The GEAM International Fund underperformed its peer index in 2008, 2009,

2010, 2011, 2013, 2014 and 2015. Similarly, this fund underperformed its actively managed

fund peers from 2011 through 2016.

     64.      The GEAM RSP Equity Fund consistently underperformed its own self-selected

benchmark – the S&P 500 Index. Moreover, consistently from 2010-2016 this fund

underperformed the applicable index in years 2010, 2011, 2014, 2015 and 2016.

     65.      The RSP Equity Fund was outperformed by peer actively managed funds as well

in almost every year from 2011-2016.

     66.      The GEAM RSP Income Fund underperformed comparable bond funds from

2011-2016.

 GEAM’S SMALL CAP FUND CHARGED PLAN PARTICIPANTS EXCESSIVE FEES

     67.      GEAM’s Small Cap Fund consistently charged excessive fees and costs to the

Plan. GEAM’s Small Cap fund charges excessive fees to profit GEAM. The Small Cap Fund

charged an annual .88% investment management fee. By contrast, according to ICI Research

Perspective May 2017, Vol. 23, No. 3, “Trends In the Expenses and Fees of Funds, 2015” (see

Exhibit A annexed hereto) Figure 1, page 2 demonstrates that from 2010 the average expense

ratio declined from .83% to .63% in 2016. The Small Cap Fund was therefore clearly

overcharging GE Plan Participants.




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            DEFENDANTS’ CONFLICTED INTERESTS AND SELF-DEALING

      68.      In April 2015, GE announced a plan to dismantle its GE Capital business (which

included GEAM) which had been a plan-in-progress for years. That plan involved selling its

financial operations including GEAM.

      69.      On March 30, 2015, State Street Corp. announced that it had entered into an

agreement to buy GEAM for up to $485 million in cash. In announcing the purchase, Ron

O’Hanley, chief executive officer of State Street Global Advisers, said he expected GEAM to

generate up to $300 million in revenue in the twelve months following its completion.

Previously, O'Hanley said, at an investor conference, that SSGA planned to grow its defined

Contribution Plan Asset Management business. In other words, the main area of SSGA’s interest

in GEAM was GEAM’s business managing GE pension plan fund assets. Accordingly, GE and

GEAM were keenly motivated to maximize GEAM’s asset management business through its

offering of GEAM Funds to the Plan.

      70.      By year end 2015, the Plan’s assets constituted the overwhelming majority of the

GEAM Funds’ assets:

               90% of the GE Institutional Intentional Equity Fund was owned by
               the Plan.

               84% of the GE Institutional Small Cap Equity Fund was owned by
               the Plan.

               75% of the GE Institutional Strategic Investment Fund was owned
               by the Plan.

               75% of the GE RSP U.S. Income Fund was owned by the Plan.

               70% of the GE RSP U.S. Equity Fund was owned by the Plan.

      71.      The true extent of GEAM’s and GE’s self-dealing with respect to the Small Cap

Fund is only truly revealed when it is understood that of the .885 fee, only 70% of the fee



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approximately .62% is paid to the actual managers of the Small Cap Fund’s assets. The balance,

approximately .25% is retained by GE and GEAM.

      72.      By restricting investment options in the managed assets categories Restricted

Asset Classes to GEAM funds, Defendants have forced plan participants to accept lower returns

from investments in poor performing GEAM managed funds when better performing, cheaper,

passive funds were available.

      73.      This historic record of underperformance of managed funds versus passive

benchmarks is glaringly illustrated in S&P Dow Jones SPIVA Research: SPIVA U.S. Score card

attached hereto as Exhibit B. In that report, the graphs at pages 5-7 demonstrate actively

managed funds dismal consistent underperformance for the class period years.

      74.      Defendant GE breached its fiduciary duties by (a) acting in its own self-interest in

maintaining GEAM Funds open as plan investments to Participants in order to maintain and

increase the value of GEAM for an eventual sale; (b) hiring GEAM as the Plan’s investment

adviser with respect to the GEAM Funds; (c) allowing GEAM Funds to charge excessive fees to

Plan Participants; (d) failing to properly monitor GEAM and the Trustees; and (e) failing to

avoid, manipulate or eliminate conflicts of interest.

      75.      Defendant GEAM and the Trustees breached their fiduciary duties by (a) acting in

its own self-interest to offer GEAM Funds to the Plan so GEAM could continue to earn fees and

soft money compensation attendant to the active management of the GEAM Funds; (b) allowing

its employees to serve as Trustees of the Plan; (c) charge excessive fees to the Plan; (d) failing

avoid, mitigate or eliminate conflicts of interest.




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                                      CAUSES OF ACTION

                                  FIRST CLAIM FOR RELIEF

               Failure To Prudently Manage The Plan And Assets Of The Plan
                                 (Against All Defendants)

      76.      Plaintiff incorporates by reference the paragraphs above.

      77.      The Count alleges breaches of the duty of prudence against all Defendants.

      78.      During the Class Period, Defendants, had they properly discharged their fiduciary

obligations, would have known that GEAM Funds were poorly performing and were managed by

conflicted Trustees and investment advisors.

      79.      The defendants failed to conduct an appropriate investigation into whether GEAM

Funds were and continued to be prudent investments for the Plan.

      80.      Because Defendants should have known that GEAM Funds were not a prudent

investment options for the Plan, they had a fiduciary duty to protect the Plan and its participants

from unreasonable and entirely predictable losses incurred as a result of the Plan’s investment in

GEAM Funds.

      81.      Defendants had available to them several different options for satisfying this duty,

including: making appropriate public disclosure, as necessary; divesting the Plan of GEAM

Funds; discontinuing further contributions to and/or investment in GEAM Funds under the Plan;

consulting independent fiduciaries regarding appropriate measures to take in order to prudently

and loyally serve the participants of the Plan; and/or resigning as fiduciaries of the Plan to the

extent that as a result of their employment by GEAM they could not loyally serve the Plan and

its participates in connection with the Plan’s acquisition and holding of GEAM Funds.

      82.      Despite the availability of these and other options, Defendants failed to take any

action to protect participants from losses resulting from the Plan’s investment in GEAM Funds.



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In fact, Defendants continued to invest and to allow investment of the Plan’s assets in GEAM

Funds despite their costs and poor performance.

      83.       According to DOL regulations and case law interpreting this statutory provision,

a fiduciary's investment or investment course of action is prudent if (a) he has given appropriate

consideration to those facts and circumstances that, given the scope of such fiduciary's

investment duties, the fiduciary knows or should know are relevant to the particular investment

or investment course of action involved, including the role the investment or investment course

of action plays in that portion of the plan's investment portfolio with respect to which the

fiduciary has investment duties; and (b) he has acted accordingly.

      84.       Again, according to DOL regulations, "appropriate consideration" in this context

includes, but is not necessarily limited to:

                a.     A determination by the fiduciary that the particular investment or

investment course of action is reasonably designed, as part of the portfolio (or, where applicable,

that portion of the plan portfolio with respect to which the fiduciary has investment duties), to

further the purposes of the plan, taking into consideration the risk of loss and the opportunity for

gain (or other return) associated with the investment or investment course of action; and

                b.     Consideration of the following factors as they relate to such portion of the

portfolio:

                c.     The composition of the portfolio with regard to diversification;

                d.     The liquidity and current return of the portfolio relative to the anticipated

cash flow requirements of the plan; and

                e.     The projected return of the portfolio relative to the funding objective of

the plan.




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      85.      As a consequence of these Defendants' breaches of fiduciary duties alleged in this

Count, the Plan suffered significant losses. If these Defendants had discharged their fiduciary

duties of prudently invest the Plan's assets, the losses suffered by the Plan would have minimized

or avoided. Therefore, as a direct and proximate result of the breaches of fiduciary duty alleged

herein, the Plan, and indirectly Plaintiff and the other Class members, on information and belief,

lost hundreds of millions of dollars of retirement savings.

      86.      Pursuant to ERISA §§409, 502(a)(2), 29 U.S.C. §§1109(a), 1132(a)(2), these

defendants are liable to restore the losses to the Plan caused by their breaches of fiduciary duties

alleged in this Court and to provide other equitable relief appropriate.

                                 SECOND CLAIM FOR RELIEF

                       Disloyal Conduct In Connection With Investments

      87.      Plaintiff repeats and realleges each of the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

      88.      The Count alleges fiduciary breach against Defendants Trustees (the “Investment

Oversight Defendants”)

      89.      The Investment Oversight Defendants are directly responsible for selecting,

monitoring, and removing investment options in the Plans.

      90.      The Investment Oversight Defendants caused the Plans to invest billions of

dollars in investment options managed by GEAM favoring exclusively the proprietary

investment options of the GEAM Funds for certain asset classes.

      91.      The GEAM Funds consistently underperformed benchmarks and peers while

GEAM collected excessive and unnecessary fees from the Plan for “managing” the GEAM

Funds.




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      92.      By the conduct and omissions described above, the Investment Oversight

Defendants failed to discharge their duties with respect to the Plans solely in the interest of the

participants and beneficiaries and for the exclusive purpose of providing benefits to participants

and beneficiaries and defraying reasonable expenses of administering the Plans, in violation of

BRISA§ 404(a)(l)(A), 29 U.S.C. § 1104(a)(l)(A).

      93.      The Investment Oversight Defendants failed to discharge their duties with respect

to the Plans with the care, skill, prudence, and diligence under the circumstances then prevailing

that a prudent man acting in a like capacity and familiar with such matters would use in the

conduct of an enterprise of like character and with like aims, in violation of ERISA

§404(a)(1)(B), 29 U.S.C. §1104(a)(1)(B).

      94.      As a direct and proximate result of these breaches of fiduciary duties, the Plans

and their participants have paid GEAM, directly and indirectly, substantial investment

management and other fund-related fees during the Class Period, and suffered lost-opportunity

costs which continue to accrue, for which the Investment Oversight Defendants are jointly and

severally liable pursuant to ERISA § 409, 29 U.S.C § 1109, and ERISA § 502(a)(2), 29 U.S.C

§1132(a)(2).

                                  THIRD CLAIM FOR RELIEF

                   Prohibited Transactions In Connection With Investments

      95.      Plaintiff repeats and realleges each of the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

      96.      This count alleges prohibited transactions against all Defendants.

      97.      All Defendants were fiduciaries and parties in interest to the Plans.




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      98.      The Defendants caused the Plans to engage in prohibited transactions under

ERISA with each purchase of investment shares from GEAM Funds and payment by the Plans of

fees to GEAM in connection with the Plans' investment in a GEAM-affiliated investment option.

      99.      By the conduct and omissions described above, the Defendants violated ERISA

regulations against prohibited transactions:

               a.       By causing the Plans to engage in transactions that they knew or should

have known constitute direct or indirect transfers of the Plans' assets to, or use of the Plans'

assets by or for the benefit of, parties in interest, in violation of ERISA §406(a)(1)(D), 29 U.S.C.

§ 1106 (a)(1)(D); and

               b.       By causing the Plans to engage in the above conduct and omissions, in

which a fiduciary to the Plans dealt with the assets of the Plans in its own interest or for its own

account in violation of ERISA § 406(b)(l), 29 U.S.C. § 1106(b)(l); and

               c.       By causing the Plans to engage in the above conduct and omissions, in

which a fiduciary to the Plans, in its individual or in any other capacity, acted on behalf of a

party whose interests were adverse to the interests of the Plans or the interests of its participants

or beneficiaries, in violation of ERISA § 406(b)(2), 29 U.S.C. § 1106(b)(2).

     100.      Although Section 406 proscriptions against prohibited transactions may not apply

to a Plan’s acquisition of shares of an open ended investment company registered under the

Investment Company Act of 1940, in certain circumstances, here, such exception (PTE 77-3, 42

Fed. Reg. 18, 374 (1977)), does not apply because the four conjunctive conditions for

applicability have not been met.

     101.      Here, GE and GEAM used the retirement assets of its employees to make GEAM

more profitable and thus more marketable for GE’s divestiture plans.




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     102.      Pursuant to ERISA § 502(a)(2) and § 409(a), 29 U.S.C. § 1132(a)(2) and 29

U.S.C. § 1109(a), the Defendants are liable to disgorge all fees received from the Plans, directly

or indirectly, and profits thereon, and restore all losses suffered by the Plans caused by their

breaches of duty.

     103.      Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with

respect to the Plan solely in the interests of the Participants and for the exclusive purpose of

providing benefits to the Participants.

                                  FOURTH CLAIM FOR RELIEF

                                  Failure To Monitor Fiduciaries

     104.      Plaintiff incorporates by this reference the allegations above.

     105.      This Count alleges breaches of the fiduciary duty to monitor other fiduciaries and

is brought against Defendants GE and GEAM (the "Monitoring Defendants").

     106.      As alleged above, during the Class Period the Monitoring Defendants were

ERISA fiduciaries who were bound by the duties of loyalty, exclusive purpose and prudence.

     107.      The scope of the fiduciary responsibilities of the Monitoring Defendants included

the responsibility to appoint, and remove, and thus, monitor the performance of other fiduciaries.

     108.      Under ERISA, a monitoring fiduciary must ensure that the monitored fiduciaries

are performing their fiduciary obligations, including those with respect to the investment and

holding of plan assets, and must take prompt and effective action to protect the plan and

participants when they are not.

     109.      The monitoring duty further requires that appointing fiduciaries have procedures

in place so that on an ongoing basis they may review and evaluate whether the "hands-on"

fiduciaries are doing an adequate job (for example, by requiring periodic reports on their work




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and the plan's performance, and by ensuring that they have a prudent process for obtaining the

information and resources they need). In the absence of a sensible process for monitoring their

appointees, the appointing fiduciaries would have no basis for prudently concluding that their

appointees were faithfully and effectively performing their obligations to plan participants or for

deciding whether to retain or remove them.

     110.      Furthermore, a monitoring fiduciary must provide the monitored fiduciaries with

complete and accurate information in their possession that they know or reasonably should know

that the monitored fiduciaries must have in order to prudently mange the plan and the plan assets,

or that may have an extreme impact on the plan and the fiduciaries’ investment decisions

regarding the plan.

     111.      As a consequence of the Monitoring Defendants' breaches of fiduciary duty, the

Plan suffered tremendous losses. If the Monitoring Defendants had discharged their fiduciary

monitoring duties as described above, the losses suffered by the Plan would have been

minimized or avoided. Therefore, as a direct and proximate result of the breaches of fiduciary

duty alleged herein, the Plan, and indirectly Plaintiff and the other Class members, upon

information and belief, lost hundreds of millions of dollar of retirement savings.

     112.      Pursuant to ERISA §§ 409, 502(a)(2), 29 U.S.C. §§ 1109(a), 1132(a)(2), the

Monitoring Defendants are liable to restore the losses to the Plan caused by their breaches of

fiduciary duties alleged in this Count and to provide other equitable relief as appropriate.

                                 FIFTH CLAIM FOR RELEIF

                                     Co-Fiduciary Liability
                                    (Against All Defendants)

     113.      Plaintiff incorporates by reference the allegation above.




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     114.       This count alleges co-fiduciary liability against all Defendants (the “Co-Fiduciary

Defendants”).

     115.       As alleged above, during the Class Period, the Co-Fiduciary Defendants were

named fiduciaries pursuant to ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), or both. Thus, they

were bound by the duties of loyalty, exclusive purpose, and prudence.

     116.       As alleged above, ERISA § 405(a), 29 U.S.C. § 1105, imposes liability on a

fiduciary, in addition to any liability which he may have under any other provision, for a breach

of fiduciary responsibility of another fiduciary with respect to the same plan if knows of a breach

and fails to remedy it, knowingly participates in a breach, or enables a breach. The Co-Fiduciary

Defendants breached all three provisions.

     117.       ERISA § 405(a)(3), 29 U.S.C. § 1005, imposes co-fiduciary liability on a

fiduciary for a fiduciary breach by another fiduciary if, he has knowledge of a breach by such

other fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach. Each Defendant knew of the breaches by the other fiduciaries and made no efforts, much

less reasonable ones, to remedy those breaches. GEAM, through its officers and employees,

engaged in highly risky and inappropriate business practices, withheld material information from

the market, and profited from such practices, and, thus, knowledge of such practices is imputed

to GEAM as a matter of law.

     118.       Because Defendants knew of the Company's failure and inappropriate business

practices, they also knew that the Prudence Defendants were breaching their duties by continuing

to invest in GEAM Funds. Yet, they failed to undertake any efforts to remedy these breaches.

     119.       ERISA § 405(a) (l), 29 U.S.C. § 1105(1), imposes liability on a fiduciary for a

breach of fiduciary responsibility of another fiduciary with respect to the same plan if he




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participates knowingly in, or knowingly undertakes to conceal, an act or omission of such other

fiduciary, knowing such act or omission is a breach. GE and GEAM knowingly participated in

the fiduciary breaches of the Trustee Defendants. Likewise, the Monitoring Defendants

knowingly participated in the breaches of the Trustee Defendants because, as alleged above, they

had actual knowledge of the facts that rendered GEAM Funds stock an imprudent retirement

investment and yet, ignoring their oversight responsibilities, permitted the Trustee Defendants to

breach their duties.

     120.      ERISA § 405(a)(2), 29 U.S.C. § 1105(2), imposes liability on a fiduciary if by

failing to comply with ERISA § 404(a)(1), 29 U.S.C. § 1104 (a)(1), in the administration of his

specific responsibilities which give rise to his status as a fiduciary, he has enabled another

fiduciary to commit a breach.

     121.      The Monitoring Defendants’ failure to monitor their appointees enables those

fiduciaries to breach their duties.

     122.      As a direct and proximate result of the breaches of fiduciary duties alleged herein,

the Plan, and indirectly Plaintiff and the Plan's other participants and beneficiaries, on

information and belief, lost hundreds of millions of dollars or retirement savings.

     123.      Pursuant to ERISA §§ 409, 502(a)(2), 29 U.S.C. §§ 1109(a), 1132(a)(2), the Co-

Fiduciary Defendants are liable to restore the losses to the Plan caused by their breaches of

fiduciary duties alleged in this Count and to provide other equitable relief as appropriate.

                                           CAUSATION

     124.      Upon information and belief, the Plan suffered hundreds of millions of dollars in

losses because substantial assets of the Plan were imprudently invested or allowed to be invested




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by Defendants in GEAM Funds during the Class Period, in breach of Defendants' fiduciary

duties.

     125.      Defendants are liable for losses to the of the Plan's assets invested in GEAM

Funds as a result of participant contributions because they failed to take the necessary and

required steps to ensure effective and informed independent participant control over the

investment decisions-making process, as required by ERISA § 404(c), 29 U.S.C. § 1104(c), and

the regulations promulgated thereunder.

     126.      Defendants are also liable for losses that resulted from their decision to invest the

assets of the Plan in GEAM Funds rather than in other investment funds which were clearly

prudent under the circumstances presented here.

     127.      Had Defendants properly discharged their fiduciary and co-fiduciary duties,

including the monitoring and removal of fiduciaries who failed to satisfy their ERISA-mandated

duties of prudence and loyalty, eliminating GEAM Funds stock as an investment alternative

when it became imprudent, and divesting the Plan of GEAM Funds when such an investment

became imprudent, the Plan would have avoided some or all of the losses that it, and indirectly

the participants, suffered.

     128.      REMEDIES FOR BREACHES OF FIDUCIARY DUTY

     129.      The Defendants breached their fiduciary duties in that they knew or should have

known the facts as alleged above, and therefore knew or should have known that the Plan's assets

should not have been invested in GEAM Funds during the Class Period.

     130.      As a consequence of Defendants’ breaches, the Plan suffered significate losses.

     131.      ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2) authorizes a plan participant to bring

a civil action for appropriate relief under BRISA § 409, 29 U.S.C. § 1109. Section 409 requires




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“any person who is a fiduciary ... who breaches any of the ... duties imposed upon fiduciaries ...

to make good to such plan any losses to the plan ...." Section 409 also authorizes "such other

equitable or remedial relief as the court may deem appropriate ....”

     132.      With respect to calculation of the losses to the Plan, breaches of fiduciary duty

result in a presumption that, but for the breaches of fiduciary duty, the Plan would not have made

or maintained its investments in the challenged investment and, instead, prudent fiduciaries

would have invested the Plan's assets in the most profitable alternative investment available to

them. The Court should adopt the measure of loss most advantageous to the Plan. In this way,

the remedy restores the Plan’s lost value and puts the participants in the position they would have

been in if the Plan had been properly administered.

     133.      Plaintiff and the Class are, therefore, entitled to relief from the Defendants in the

form of: (a) a monetary payment to the Plan to make good to the Plan the losses to the Plan

resulting from the breaches of fiduciary duties alleged above in an amount to be proven at trial

based on the principles described above, as provided by BRISA § 409(a), 29 U.S.C. § 1109(a);

(b) injunctive and other appropriate equitable relief to remedy the breaches alleged above, as

provided by ERISA §§ 409(a), 502(a), 29 U.S.C. §§ 1109(a), 1132(a)(2); (c) reasonable attorney

fees and expenses, ad provided by BRISA § 502(g), 29 U.S.C. § 1132(g), the common fund

doctrine, and other applicable law; (d) taxable costs and interest on these amounts as provided by

law; and (f) such other legal or equitable relief as may be just and proper.

     134.      Under ERISA, each Defendant is jointly and severally liable for the losses

suffered by the Plan in this case.




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                               CLASS ACTION ALLEGATIONS

     135.       Plaintiff brings this action as a class action pursuant to Rule 23(a), (b)(l)(B)

(preferred) or, alternatively, (b)(3) of the Federal Rules of Civil Procedure on behalf of Plaintiff

and the following class of persons similarly situated (the "Class"):

                All persons, other than Defendants, who were participants in or
                beneficiaries of the Plan at any time between June 20, 2011 and
                June 15, 2017 and whose accounts included investments in GEAM
                Funds common stock.

     136.       The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time,

and can only be ascertained through appropriate discovery, Plaintiff believes that there are

substantially in excess of 10,000 class members. Plaintiff believes that a majority of participates

and beneficiaries held GEAM Funds in their Plan accounts.

     137.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class are:

                a.     Whether Defendants each owed a fiduciary duty to Plaintiff and members

of the Class;

                b.     Whether Defendants breached their fiduciary duties to Plaintiff and

members of the Class by failing to act prudently and solely in the interests of the Plan’s

participants and beneficiaries;

                c.     Whether Defendants violated ERISA; and

                d.     Whether the Plan has suffered losses and, if so, the appropriate measure of

damages.




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     138.       Plaintiff's claims are typical of the claims of the members of the Class because to

the extent Plaintiff seeks relief on behalf of the Plan pursuant to ERISA § 502(a)(2), his claims

on behalf of the Plan are not only typical to, but identical to a claims under this section brought

by any Class member.

     139.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class action, complex, and ERISA

litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

     140.       Rule 23(b)(1)(B) Requirements. Class action status in this ERISA action is

warranted under Rule 23(b)(l)(B) because prosecution of separate actions by the members of the

Class would create a risk of adjudications with respect to individual members of the Class which

would, as a practical matter, be dispositive of the interests of the other members not parties to the

actions, or substantially impair or impede their ability to protect their interests.

     141.       Rule 23(b) (3) Requirements. The requirements of Rule 23(b)(3) are also

satisfied here because the questions of law or fact common to class members predominate over

any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy. The matters pertinent

to these findings include:

                a.      the members' interests in individually controlling the prosecution or

defense of separate actions;

                b.      the extent and nature of any litigation concerning the controversy already

begun by or against class members;

                c.      the desirability or undesirability of concentrating the litigation of the

claims in the particular forum; and




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               d.      the likely difficulties in managing a class action.

     142.      In this case the questions of law or fact common to class members include

whether Defendants were fiduciaries of the Plan, whether GEAM Funds were prudent

investments for the Plan accounts, whether certain disclosures to Participants had to be made

(question of law) and were made (question of fact), and what is the amount of loss to the Plan

from the breaches of fiduciary duty, and these questions clearly predominate over questions

affecting only individual members, such as the amount of loss to each Plan account. Further, a

class action is superior to other available methods for fairly and efficiently adjudicating the

controversy, since proceeding as a class action will allow judicial supervision and thereby greater

protection of class members and proceeding as a class action will allow for the possibility of

class notice, or of periodic class notices, to benefit the class members.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       A.      A Declaration that the Defendants, and each of them, have breached their ERISA

fiduciary duties to the participants;

       B.      A Declaration that the Defendants, and each of them, are not entitled to the

protection of ERISA § 404 (c)(1)(B), 29 U.S.C. § 1104(c)(1)(B);

       C.      An Order compelling the Defendants to make good to the Plan all losses to the

Plan resulting from Defendants' breaches of their fiduciary duties, including losses to the Plan

resulting from imprudent investment of the Plan's assets, and to restore to the Plan all profits the

Defendants made through use of the Plan's assets, and to restore to the Plan all profits which the

participants would have made if the Defendants had fulfilled their fiduciary obligations;




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         D.      Imposition of a Constructive Trust on any amounts by which any Defendant was

unjustly enriched at the expense of the Plan as the result of breaches of fiduciary duty;

         E.      Actual damages in the amount of any losses the Plan suffered, to be allocated

among the participants' individual accounts in proportion to the accounts' losses;

         F.      An Order awarding costs pursuant to 29 U.S.C. § 1132(g);

         G.      An Order for equitable restitution and other appropriate equitable and injunctive

relief against the Defendants.

                                      JURY TRIAL DEMAND

         Plaintiff demands a trial by jury on all issues so triable.

Dated:          October 27, 2017                 HUTCHINGS BARSAMIAN
                                                 MANDELCORN, LLP



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